                    Case 1:20-cv-00665-LJV-HKS Document 27 Filed 09/08/20 Page 1 of 1

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                                                                           September 8, 2020



         Hon. H. Kenneth Schroeder
         U.S. District Court
         Western District of New York
         2 Niagara Square
         Buffalo, New York 14202

                        RE:       Pharaohs GC, Inc. v. U.S. Small Business Administration, et al.
                                   Ct. of App. Docket No.: 20-2170, Dist. Ct. Docket No.: 20-CV-665

         Dear Hon. Schroeder:


                This office represents the Plaintiff in the above-referenced action. I am writing to your
         honor concerning the Case Management Order ("CMO") for the above-referenced case.

                Under the Court's August 20, 2020 Text Order, a proposed CMO is due to be filed with
         the Court on Thursday of this week. I provided a draff CMO to Mr. Cerrone last Thursday, but
         the responding email advised that Mr. Cerrone would be out of the office until tomorrow. I will
         be out of the office tomorrow and Thursday.


                In light of the foregoing, it is respectfully requested that the Court extend the date for the
         filing of a proposed CMO by one week. If there are any questions, please contact the
         undersigned. Thank you for our consideration.



                                                                                                 Respetffnilly,




                                                                                                  Edward P. Yankelunas, Esq.



         cc:            Michael S. Cerrone, Esq.




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